Case 18-31274 Document 2234 Filed in TXSB on 12/18/18 Page 1 of 2

United States Bankruptcy Court

Southern District of Texas

Inre: iHeartMedia, Inc.

Case No.: 18-31274

Court ID (Court use only)

NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security,

of the claim referenced in this notice.

Bradford Capital Holdings, LP
Name of Transferee

Name and Address where notices to transferee
should be sent

Bradford Captial Holdings, LP

P.O. Box 4353

Clifton, NJ 07012

Attn: Brian Brager

Phone: (862) 249-1349

Email: bbrager@bradfordcapitalmgmt.com
Last Four Digits of Acct #:

Name and Address where transferee payments
should be sent (if different from above)

Scheduled Claim Number: 746462
Scheduled Claim Amount: $37,127.07
Proof of Claim Number: 1597

Proof of Claim Amount: $37,127.06

Radius Intelligence, Inc.
Name of Transferor

Court Record Address of Transferor
(Court Use Only)

Last Four Digits of Acct. #:
Name and Current Address of Transferor
Radius Intelligence, Inc.

225 Bush Street, Floor 12
San Francisco, CA 94104

I declare under penalty of perjury that the information provided in this notice is true and correct to the best

of my knowledge and belief.

By:_/s/ Brian Brager
Transferee/Transferee’s Agent

Date: 12/18/2018

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

 

~~DEADLINE TO OBJECT TO TRANSFER~~

The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for
Security has been filed in the clerk’s office of this court as evidence of the transfer. Objections must be

filed with the court within twenty (20) days of the mai

ling of this notice. If no objection is timely received

by the court, the transferee will be substituted as the original claimant without further order of the court.

Date:

 

CLERK OF THE COURT

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Case 18-31274 Document 2234 Filed in TXSB on 12/18/18 Page 2 of 2

EVIDENCE OF TRANSFER OF CLAIM

TO: United States Bankruptcy Court
Southern District of Texas
Attention: Clerk

AND TO: iHeartMedia, Inc. (“Debtor”)
Case No. 18-31274

Proof of Claim # 1597
Schedule #: 746462

Radius Intelligence, Inc., its successors and assigns (“Assignor”), for good and valuable consideration the receipt and.
sufficiency of which is hereby acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

Bradford Capital Holdings, LP
Attention: Brian L. Brager

PO Box 4353

Clifton, NJ 07012

its successors and assigns (“Assignee”), all rights, title and interest, claims and causes of action in and to, or arising under
or in connection with, its claim (as such term is defined in Section 101(5) of the U.S, bankruptcy Code), in and to the
claim of Assignor, including all rights of stoppage in transit, replevin and reclamation, (the “Claim”) against the Debtor in
the Bankruptcy Court, or any other court with jurisdiction over the bankruptcy proceedings of the Debtor.

Assignor hereby waives any objection to the transfer of the Claim to Assignee on the books and records of the Debtor and
the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be
imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedures, the Bankruptcy Code, applicable local bankruptcy
rules or applicable law. Assignor acknowledges, understands and agrees, and hereby stipulates that an order of the
Bankruptcy Court may be entered without further notice to Assignor transferring to Assignee the Claim and recognizing
the Assignee as the sole owner and holder of the Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other communications,
in respect of the Claim to Assignee.

IN WITNESS WHEREOF, each of the undersigned has executed this Evidence of Transfer by its duly authorized
representative dated this (| tl, day of _DECeEMSEROIS.

Radius Intelligence, Inc. Bradford Capital Holdings. LP
By: Bradford Capital GP, LLC, its General Partner

   

By:_\iiiasy Sino By: aa
Name: ASHam SUNDAB Name: Brian Brager
Title: Cfo Title: Managing Member

 
